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Clerk, U.S. District Gout
Southern

Texas
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UNITED STATES DISTRICT COURT FEB 01 2016
SOUTHERN DISTRICT OF TEXAS tems J Brediey, Cink of COU

CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA §
§

vs. § CRIMINAL NUMBER _C-15-975(1)
§
§
ARMANDO BAZAN §
§

MEMORANDUM OF PLEA AGREEMENT
1. The Defendant knowingly and voluntarily agrees with the United States, through the
United States Attorney for the Southern District of Texas, through the undersigned Assistant U.S.

Attorney to plead guilty to Counts ONE (1) and TWO (2) of the above-numbered indictment.

2. Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure and in
consideration for the Defendant’s plea of guilty and truthful testimony to the Court at the time of
the Defendant's re-arraignment and sentencing and for the Defendant’s truthful rendition of facts
to the U.S. Probation Department for the preparation of the Defendant’s Pre-sentence Investigation
Report, the Government will recommend the Defendant be given maximum credit for acceptance
of responsibility and a sentence of imprisonment at the lowest end of the applicable guideline

range.

3. Furthermore, should the Defendant provide substantial assistance to the Government
as outlined in U.S. Sentencing Guidelines, Section 5K1.1 and 18 U.S.C. § 3553(e) the
Government will recommend to the Court a reduction in the Defendant’s sentence and recommend
a sentence commensurate with the value, completeness, and truthfulness of the Defendant's

information. This agreement does not obligate the Government Attorney to make a motion for
 

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‘downward departure if in the Government Attorney’s evaluation the Defendant had not provided
substantial assistance. Substantial assistance is understood by both parties to require good faith
during all phases of the cooperation period, to include complete and honest debriefing which
assists in the investigation or prosecution of other individuals, and complete and truthful testimony
at subsequent trials when needed. In this connection, it is understood the Government’s
determination of whether the Defendant has cooperated fully and provided substantial
cooperation, and the Government’s assessment of the value, truthfulness and completeness of the
Defendant's cooperation are solely within the judgment and discretion of the Government and
shall be binding upon the Defendant. The Defendant agrees and understands that the decision

whether to file such a motion rests within the sole discretion of the Government, and that the

 

decision whether to grant such a motion rests solely with the Court.

4. Pursuant to §1B1.8 of the Sentencing Guidelines, the Government agrees to
recommend to the Court that any information tendered by the Defendant during debriefing
sessions with the Government, to the extent that such information was unknown to the
Government prior to the debriefings, not be utilized in the calculation of his sentencing guideline

range.

5. Neither the Government nor any law enforcement officer can or does make any

promises or representations as to what sentence will be imposed by the Court.

6. The defendant is aware that the sentence will be determined with reference to the United
States Sentencing Commission’s Guidelines Manual (U.S.S.G.). Defendant acknowledges and
agrees that the Court may impose any sentence up to and including the statutory maximum, and |

that the sentence to be imposed is within the sole discretion of the Court in accordance with the

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Sentencing Reform Act of 1984, 18 U.S.C. § 3553(a)(1) and (2), and § 3661. Ifthe Court should
impose any sentence up to the maximum established by statute, defendant cannot, for that reason
alone, withdraw a guilty plea, and will remain bound to fulfill all of the obligations under this plea

agreement.

7. Defendant is aware that Title 28, United States Code, section 1291, and Title 18,
United States Code, section 3742, afford a defendant the right to appeal the conviction and
sentence imposed. Defendant is also aware that Title 28, United States Code, section 2255, affords
the right to contest or “collaterally attack” a conviction or sentence after the judgment of
conviction and sentence has become final. Defendant knowingly and voluntarily waives the right
to appeal or “collaterally attack” the conviction and sentence, except that Defendant does not
waive the right to raise a claim of ineffective assistance of counsel on direct appeal, if otherwise
permitted, or on collateral review in a motion under Title 28, United States Code, section 2255.
In the event Defendant files a notice of appeal following the imposition of the sentence or later
collaterally attacks his conviction or sentence, the United States will assert its rights under this

agreement and seek specific performance of these waivers.

8. In agreeing to this waiver, the defendant is aware that a sentence has not yet been
determined by the Court. The defendant is also aware that any estimate of the probable
sentencing range under the sentencing guidelines that he/she may have received from his/her
counsel, the United States or the Probation Office, is a prediction, not a promise, and is not binding
on the United States, the Probation Office or the Court. The defendant understands that the
sentencing range is advisory only, therefore the Court may impose a sentence that is lower or

higher than that range. The United States does not make any promise or representation concerning
 

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what sentence the defendant will receive.

9. The United States reserves the right to carry out its responsibilities under guideline
sentencing. Specifically, the United States reserves the right:

(a) to bring its version of the facts of this case, including its evidence file and any

investigative files, to the attention of the Probation Office in connection with that office’s

preparation of a pre-sentence report;

(b) to set forth or dispute sentencing facts or facts material to sentencing;

(c) to seek resolution of such factors or facts in conference with defendant’s counsel and

the Probation Office; and,

(d) to file a pleading relating to these issues, in accordance with U.S.S.G. § 6A1.2.

10. Should it be judged by the Government the Defendant has committed or attempted to
commit any additional crimes from the date of the Defendant’s signing of this plea agreement to
the date of the Defendant’s sentencing, the Government will be released from its obligations to
recommend credit for acceptance of responsibility and/or to move for a reduction in sentence for
substantial assistance and is free to argue for any sentence within the statutory limits. Such a
breach by the Defendant will not release the Defendant from his plea of guilty and the terms of this
plea agreement. Furthermore, the Defendant will be subject to prosecution for all criminal activity,
including perjury, false statement, and obstruction of justice, which is attempted or committed

subsequent to the signing of this agreement by the Defendant. The Defendant further understands

 

and agrees the special assessment is due and payable to the U.S. District Clerk’s Office

immediately following the Defendant's sentencing.

11. Defendant recognizes that pleading guilty may have consequences with respect to

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his/her immigration status if he/she is not a citizen of the United States. Defendant understands
that if he/she is not a citizen of the United States, by pleading guilty he/she may be removed from
the United States, denied citizenship, and denied admission to the United States in the future. Defendant’s
attorney has advised Defendant of the potential immigration consequences resulting from Defendant’s plea
of guilty.

12. Defendant, ARMANDO BAZAN, hereby agrees to forfeit whatever interest he may
have in those assets listed in the indictment, and stipulates that the following property is subject to
forfeiture:

1) all property used, or intended to be used, in any manner or part, to
commit, or to facilitate the commission of, such violation, including but not

limited to, the following property:

Real property and improvements located at 4108 Rene Avenue,
Mission, Texas 78573, with a legal description of:

Lot 11 (11), Basham Subdivision No. 2, a resubdivision of the
east 7.65 acres of the west 15.13 acres of the north 30.45 acres of
Lot 32-1, west addition to Sharyland, Hidalgo County, Texas, as
per map or plat thereof on file and of record in the office of the
County Clerk of Hidalgo County, Texas.

13. Defendant, ARMANDO BAZAN, consents to any agreed order of
forfeiture or judgment, and further agrees to take all steps necessary to pass clear title to
forfeitable assets to the United States, including, but not limited to, surrendering of title,
signing a consent decree, stipulating facts regarding the transfer of title and basis for the
forfeiture, and signing any other documents necessary to effectuate such transfer.

Defendant waives the right to challenge the forfeiture of property, in any manner,
including by direct appeal or in a collateral proceeding.

Defendant consents to the order of forfeiture becoming final as to the Defendant

immediately following this guilty plea pursuant to Fed.R.Crim. P. 32.2(b)(4).
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ARMANDO BAZAN
Defendant

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Attorney for Defendant

KENNETH MAGIDSON
UNITE

By:

 
  

 

JULIE BL HAMPTON
Assistant United States Attorney

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Date

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Date
